Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 1 of 29 PageID #: 29774




                                No. 21-cv-01780-TLA

                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE
                     ____________________________________
                    In re MALLINCKRODT, PLC, et al., Debtors.*
                      ____________________________________
               ATTESTOR LIMITED and HUMANA INC., Appellants,
                                          v.
                       MALLINCKRODT, PLC, et al., Appellees.
                      ____________________________________
                  On Appeal from the United States Bankruptcy Court
                   for____________________________________
                       the District of Delaware, No. 20-12522 (JTD)

                     REORGANIZED DEBTORS’ MOTION
                 TO DISMISS APPEAL AS EQUITABLY MOOT
                    ____________________________________

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*
 A complete list of the Debtors in these Chapter 11 cases may be obtained on the
website      of     the      Debtors’    claims    and     noticing    agent      at
http://restructuring.ra.kroll.com/Mallinckrodt. The Debtors’ mailing address is 675
McDonnell Blvd., Hazelwood, Missouri 63042.
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 2 of 29 PageID #: 29775




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Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 3 of 29 PageID #: 29776




                                        TABLE OF CONTENTS

                                                                                                               Page

TABLE OF AUTHORITIES .................................................................................... ii
PRELIMINARY STATEMENT ............................................................................... 1

BACKGROUND ....................................................................................................... 2

         A.       Events Leading Up To The Bankruptcy................................................ 3

         B.       The Chapter 11 Cases ............................................................................ 3
         C.       Administrative Claims Trial .................................................................. 5
         D.       Plan Confirmation And Subsequent Proceedings ................................. 7

         E.       Plan Consummation .............................................................................. 8
ARGUMENT ........................................................................................................... 10

I.       The Unstayed Plan Has Been Substantially Consummated .......................... 11

         A.       Substantial Consummation .................................................................. 11

         B.       Failure To Seek A Stay ....................................................................... 11
II.      Granting Relief Would Significantly Harm Third Parties And
         Scramble The Plan ......................................................................................... 14
         A.       Effect Of Granting Relief On New Mallinckrodt’s Finances ............. 14

         B.       Harm To Third Parties......................................................................... 16

         C.       Scrambling Effects .............................................................................. 18

III.     Public Policy Favors Dismissal ..................................................................... 21
CONCLUSION ........................................................................................................ 22




                                                           i
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 4 of 29 PageID #: 29777




                                    TABLE OF AUTHORITIES

                                                                                                        Page(s)

                                                   CASES
In re Chateaugay Corp.,
    10 F.3d 944 (2d Cir. 1993) ................................................................................. 19
In re Continental Airlines,
    91 F.3d 553 (3d Cir. 1996) ..........................................................................passim

In re Millennium Lab Holdings II, LLC,
    945 F.3d 126 (3d Cir. 2019) ........................................................................passim

Nordhoff Inv.’s Inc. v. Zenith Elecs. Corp.,
  258 F.3d 180 (3d Cir. 2001) ...................................................................12, 16, 17
In re Phila. Newspapers, LLC,
    690 F.3d 161 (3d Cir. 2012) .............................................................11, 16, 17, 19
In re Semcrude, L.P.,
    728 F.3d 314 (3d Cir. 2013) .........................................................................11, 19

In re Specialty Equip. Cos.,
    3 F.3d 1043 (7th Cir. 1993) ................................................................................ 20

In re Tribune Media Co.,
    799 F.3d 272 (3d Cir. 2015) ........................................................................passim

In re UNR Indus., Inc.,
    20 F.3d 766 (7th Cir. 1994) ................................................................................ 16

In re Zenith Elecs. Corp.,
    329 F.3d 338 (3d Cir. 2003) ............................................................................... 12

                                                STATUTES
11 U.S.C. §§ 1101(2)(A)-(C) ................................................................................... 11




                                                        ii
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 5 of 29 PageID #: 29778




      Mallinckrodt plc and its affiliated reorganized debtors (“New Mallinckrodt”)

submit this motion to dismiss Attestor’s1 above-captioned appeal of the Bankruptcy

Court’s Order dated December 12, 2021 [Bankr. D.I. 5886] (“Order”) as equitably

moot.2   New Mallinckrodt relies on the appeal record and the accompanying

Declaration of Bryan Reasons (“Decl.”), and states as follows:

                        PRELIMINARY STATEMENT
      In this appeal, Attestor seeks allowance of administrative claims that Attestor

valued at over $300 million in November 2021 and that, based on Attestor’s

projections, would total over $600 million today. Although New Mallinckrodt does

not believe Attestor is entitled to $600 million (or any other relief), if Attestor

ultimately prevailed, that amount would become due immediately. Saddling New

Mallinckrodt with that kind of new liability—when it just emerged from one of the

most complex chapter 11 bankruptcies to date during exceedingly difficult market

conditions—would harm purchasers of equity and debt securities that made new

investments in the Company in reliance on the validity of the Confirmation Order.

The potential liability would also substantially weaken New Mallinckrodt’s liquidity


1
 This Motion refers to Attestor Limited; Avon Holdings I, LLC; and Humana Inc.
collectively as “Attestor.”
2
 “Bankr. D.I.” refers to the docket in the main chapter 11 case, No. 20-12522 (JTD).
“D.I.” refers to the docket in this appeal. Capitalized terms not defined have the
meanings ascribed to them in the Fourth Amended Joint Plan of Reorganization (the
“Plan”) [Bankr. D.I. 6510] or the Confirmation Order [Bankr. D.I. 6660].

                                         1
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 6 of 29 PageID #: 29779




position. The relief Attestor seeks would require the Company to use up too much

liquidity and would likely eliminate the Company’s equity value altogether, to the

detriment of third parties.

      Attestor’s failure to seek a stay in connection with this appeal and other

litigation conduct make the case for dismissal stronger still.        Attestor claims

entitlement to hundreds of millions of dollars in administrative claims. And the

Bankruptcy Court explicitly relied on the denial of those claims in confirming the

Plan. Yet Attestor never sought a stay in connection with this appeal. And when

Attestor sought a limited stay in connection with a separate, unrelated appeal (which

Attestor dismissed when the stay was denied), it made clear it was not seeking to

prevent the Plan from becoming effective. More than six months have now passed

since the decision Attestor seeks to challenge on appeal, but merits briefing has yet

to begin because Attestor refused to set a briefing schedule in this Court. Attestor’s

failure to expeditiously prosecute this appeal, paired with its failure to seek a stay,

weigh against granting relief. Dismissal is the only equitable result.

                                 BACKGROUND
      The facts most pertinent to this Motion are presented below. Additional

background can be found in the Debtors’ opposition to certification in this appeal.

See D.I. 19 at 9-13.




                                          2
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 7 of 29 PageID #: 29780




      A.     Events Leading Up To The Bankruptcy
      Mallinckrodt is a global specialty biopharmaceutical company that produces

and sells generic and branded products. Decl. ¶ 6. In the years leading up to the

bankruptcy, certain Mallinckrodt entities were named in thousands of lawsuits

stemming from the production and sale of opioid products and were subject to a

number of government investigations. See Bankr. D.I. 128 at 32-35. Mallinckrodt

entities separately faced litigation and government investigations relating to other

business lines, including its Acthar® Gel (“Acthar”) product. Id. at 36-37. The cost

and burden associated with those matters, and the fact that any judgments could

quickly aggregate into tens of billions of dollars, ultimately led the Debtors to file

for chapter 11 protection. Id. at 5, 36-38.

      B.     The Chapter 11 Cases
      On October 12, 2020, the Debtors filed chapter 11 petitions. Bankr. D.I. 1.

By then, the Debtors had already negotiated and executed a Restructuring Support

Agreement (“RSA”), which included cornerstone settlements with major

governmental opioid claimants and the fulcrum class of funded debt creditors, the

Guaranteed Unsecured Noteholders. Bankr. D.I. 128 at 7. The Debtors had also

achieved settlements of significant litigation with the Department of Justice and the

Centers for Medicare and Medicaid Services concerning Acthar. Id. at 10-11.




                                          3
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 8 of 29 PageID #: 29781




      The core settlements underlying the RSA, which were reflected in the Plan,

included an allocation of the residual value of the reorganized enterprise between

the Guaranteed Unsecured Noteholders and the opioid claimants. Decl. ¶ 8. Under

the RSA (and the Plan), the Guaranteed Unsecured Noteholders received all of the

equity of the reorganized enterprise (before dilution for certain plan transactions),

while the opioid claimants received deferred cash payments totaling $1.725 billion

and certain other assets, including warrants to purchase 19.99% of the equity of the

reorganized enterprise at an agreed-upon strike price. Id. During the bankruptcy,

the Plan was amended to incorporate a settlement with additional opioid claimant

constituencies and a settlement (also incorporated in an amended RSA) with an ad

hoc group of Term Loan Lenders, the Debtors’ largest funded debt constituency.

Bankr. D.I. 1631; see Decl. ¶ 11 (explaining background of Supporting Term Loan

Lenders settlement providing crucial support for the Plan and the restructuring).

      Each of the RSA creditor constituencies bargained for the right to terminate

the RSA if certain case milestones were not met. The RSA parties originally

bargained for the right to terminate if the Debtors did not emerge from bankruptcy

by January 2022. Id. ¶ 9. As part of the Supporting Term Loan Lenders’ settlement,

the parties renegotiated some of those milestones, initially permitting any party to

terminate unless the Debtors emerged from bankruptcy by November 15, 2021. Id.

¶ 11. Over the course of the case, the Debtors achieved settlements with other key


                                         4
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 9 of 29 PageID #: 29782




constituencies as well. See Bankr. D.I. 6510-4 at 2-4 (Second Lien Noteholders);

Decl. ¶ 11 (Revolving Lenders).

      The settlements included in the RSA were memorialized in the conditions

precedent in the solicitation version of the Plan, one of which required that the RSA

“remain in full force and effect and not have been terminated, and the parties thereto

shall be in compliance therewith.” Bankr. D.I. 2916 at 110.

      C.     Administrative Claims Trial
      Attestor’s claims against the Debtors relate to Acthar, a naturally derived

ACTH product with no generic or non-name brand equivalent. Order 2-3. Attestor

filed proofs of claim for prepetition purchases of Acthar and moved for payment of

administrative expense claims based on postpetition purchases. Order 1-2; see

Bankr. D.I. 2159. Attestor argued that the Debtors’ acquisition of the rights to

Synacthen—a synthetic ACTH compound, which has only some properties similar

to Acthar—violated the federal antitrust laws, the RICO Act (among other laws),

and state laws. Order 1-3. The Debtors objected to Attestor’s administrative claims,

Bankr. D.I. 2521, and the Bankruptcy Court conducted a two-week bench trial in

late 2021. Order 2.3




3
  Attestor’s prepetition claims were largely disallowed for lack of substantiation.
Bankr. D.I. 3406. Those claims are the subject of a separate appeal that has been
fully briefed and is pending in this Court. See Case No. 21-cv-01093-TLA.

                                          5
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 10 of 29 PageID #: 29783




      In a pretrial brief filed in November 2021, Attestor cited its expert’s analysis

estimating Attestor’s “postpetition damages” to be “more than $300 million.”

Bankr. D.I. 5196 at 42 ¶ 93. Attestor’s expert provided a breakdown of the average

postpetition damages he estimated Attestor accrued from the petition date through

June 2021 (or later for some claimants). AICX-1455, Table 11 (showing monthly

average of approximately $29.3 million). Based on those estimates, and assuming

the rate of accrual remained constant through the Debtors’ emergence in June 2022,

Attestor’s administrative claims would total over $600 million.

      At the end of the trial, on December 6, 2021, the Bankruptcy Court found that

Attestor “failed to meet [its] burden of proof on” its antitrust and RICO claims, and

had abandoned its state-law claims. Bankr. D.I. 5740 at 8:5-9. A written order

followed. Order 2, 24-25, 34.

      On December 20, 2021, Attestor appealed. Bankr. 5882; see D.I. 1. In

January 2022, the Debtors proposed a merits briefing schedule that would have

begun on March 4, 2022 and concluded on April 18, 2022. See D.I. 8. Weeks later

and well over a month after filing its appeal, on February 4, 2022, Attestor filed a

motion asking this Court to certify a direct appeal to the Third Circuit, which the

Debtors opposed. D.I. 12, 19. The motion remains pending. Attestor also took the

position that no briefing schedule should be set until certification was resolved. D.I.

8. To date, merits briefing has not begun, and no schedule has been set.


                                          6
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 11 of 29 PageID #: 29784




      D.     Plan Confirmation And Subsequent Proceedings
      Following the Bankruptcy Court’s ruling on Attestor’s administrative claims,

the confirmation hearing proceeded, concluding on January 6, 2022. The court

issued an opinion confirming the Plan on February 3, 2022. Bankr. D.I. 6347; Bankr.

D.I. 6378 (revised opinion). On March 2, 2022, it entered the Confirmation Order.

Bankr. D.I. 6660.       The Confirmation Order included specific provisions

memorializing and relying on the court’s prior ruling disallowing Attestor’s

administrative expense claims. See Bankr. D.I. 6660 at 55 (citing administrative

claims order, and other evidence, as “establish[ing] that the Reorganized Debtors

will have sufficient funds available to meet their obligations under the Plan”).

      Attestor appealed from the Confirmation Order, challenging the Plan’s

treatment of its prepetition claims. See Case No. 1:22-cv-215-TLA, Dkt. 1. In

connection with that appeal, Attestor sought a limited stay of distributions to Class

6 General Unsecured Creditors under the Plan. Bankr. D.I. 6722. The Bankruptcy

Court denied the motion. Bankr. D.I. 6942, 7021. Attestor filed a renewed stay

motion in this Court, which was likewise denied. Case No. 1:22-cv-215-TLA, Dkt.

18, 48-49. Following that ruling, Attestor dismissed that appeal. Id., Dkt. 51-52.

Attestor never sought a stay in connection with this appeal or the relief at issue.4


4
  Attestor’s stay motion in this Court referenced and discussed its disallowed
prepetition claims and related appeal. D.I. 18 at 11-14; see Case No. 21-cv-01093-
TLA. There was no reference to this appeal or Attestor’s administrative claims.

                                          7
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 12 of 29 PageID #: 29785




And throughout the stay briefing, Attestor emphasized that it sought “to stay

distributions only to one creditor class” and that it was not asking the court to stay

“the rest of the Plan.” Id., Dkt. 18 at 2; Bankr. D.I. 6722 at 15.

      E.     Plan Consummation
      Mallinckrodt plc, the parent company, is an Irish public limited company, and

was required to commence an examinership proceeding in Ireland to recognize the

result of the chapter 11 proceeding. Bankr. D.I. 6660 at 30. The examinership

proceeding concluded on April 27, 2022.

      As required by the Plan, after the Confirmation Order was entered, the Debtors

undertook to raise exit financing, which market turmoil made quite challenging.

Decl. ¶ 22. The Debtors ultimately issued new first lien secured notes to new-money

bondholders on June 16, 2022. Id. The same day, substantially concurrently with

the issuance of the new secured notes, the Plan went effective. Id. ¶ 16.

      On and immediately after the Effective Date, New Mallinckrodt undertook an

array of complex transactions to effectuate the Plan and continue post-closing

business operations. Among other things, the Mallinckrodt companies:

      (a)    Cancelled their pre-petition public equity;

      (b)    Caused the creation of New Mallinckrodt and caused New
             Mallinckrodt to acquire substantially all of the assets of Mallinckrodt
             plc;

      (c)    Issued the New Mallinckrodt Ordinary Shares and distributed those
             shares to the holders of Guaranteed Unsecured Notes Claims;


                                           8
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 13 of 29 PageID #: 29786




      (d)       Entered into the New Opioid Warrant Agreement, issued the New
                Opioid Warrants, and distributed those warrants to the Opioid MDT II
                (the master trust for disbursements to opioid creditors);

      (e)       Issued new First Lien Notes in exchange for $650 million in financing
                from third-party lenders;
      (f)       Paid $22,631,640 in cash and entered into the New Takeback Term
                Loans in a principal amount of $1,762,634,900.41 in satisfaction of the
                First Lien Term Loan Claims;

      (g)       Issued the Takeback Second Lien Notes in a principal amount of $375
                million, and paid an approximately $19 million Noteholder Consent
                Fee, in partial satisfaction of the Guaranteed Unsecured Note Claims;
      (h)       Issued the New Second Lien Notes in a principal amount of
                $322,868,000 in satisfaction of the Second Lien Notes Claims;
      (i)       Paid approximately $900 million in cash to satisfy the First Lien
                Revolving Credit Facility Claims;

      (j)       Paid approximately $135 million in cash in exchange for the discharge
                of General Unsecured Claims;

      (k)       Paid approximately $1.4 million in cash in exchange for the discharge
                of the Allowed Trade Claims;
      (l)       Paid approximately $447 million, and assumed the obligation to make
                the Opioid Deferred Cash Payments of $1.275 billion over the next 8
                years, as part of the Opioid Settlement;

      (m)       Paid approximately $18 million, and assumed the obligation to make
                the Federal/State Acthar Deferred Payment of $245 million over the
                next 7 years, as part of the Federal/State Acthar Settlements; and

      (n)       Assumed or rejected, as applicable, all of the Executory Contracts and
                Unexpired Leases, and made approximately $23.8 million in cure
                payments.

Id. ¶¶ 17-31.




                                            9
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 14 of 29 PageID #: 29787




      Immediately following the Effective Date, equity in New Mallinckrodt began

trading in the OTC marketplace. Id. ¶ 19. Approximately 1.2 million shares, or

approximately 9% of the total number of shares, have thus far traded in public market

transactions, and shares will continue to publicly trade moving forward. Id. ¶ 20.

As of the date of this filing, the opening price of New Mallinckrodt’s shares was

$24.50 per share, implying a total equity value of approximately $325 million. Id.

New Mallinckrodt’s new debt instruments, including the newly issued New First

Lien Notes and newly issued New Second Lien Notes, are also actively trading in

the debt markets. Id. ¶ 24.

                                  ARGUMENT
      Courts have dismissed appeals as equitably moot following plan confirmation

when “effective relief could conceivably be fashioned,” but “implementation of that

relief would be inequitable.” In re Continental Airlines, 91 F.3d 553, 559 (3d Cir.

1996) (en banc) (citation omitted). The “equitable mootness analysis proceeds by

asking two questions:     ‘(1) whether a confirmed plan has been substantially

consummated; and (2) if so, whether granting the relief requested in the appeal will

(a) fatally scramble the plan and/or (b) significantly harm third parties who have

justifiably relied on plan confirmation.’” In re Millennium Lab Holdings II, LLC,

945 F.3d 126, 140 (3d Cir. 2019) (quoting In re Tribune Media Co., 799 F.3d 272,

278 (3d Cir. 2015)). Courts also consider other factors, including whether an


                                         10
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 15 of 29 PageID #: 29788




appellant sought and obtained a stay (which relates to the first prong), and “the public

policy of affording finality to bankruptcy judgments.” In re Phila. Newspapers,

LLC, 690 F.3d 161, 168-70 (3d Cir. 2012) (citation omitted). Both prongs and all

related factors favor dismissal.

I.    THE UNSTAYED PLAN HAS BEEN SUBSTANTIALLY
      CONSUMMATED
      The Plan has been substantially consummated, and Attestor’s failure to seek

a stay to prevent that result weighs in favor of dismissal.

      A.     Substantial Consummation
      Substantial consummation occurs upon the (A) “transfer of all or substantially

all of the property proposed by the plan to be transferred”; (B) “assumption by the

debtor or by the successor to the debtor under the plan of the business or of the

management of all or substantially all of the property dealt with by the plan”; and

(C) “commencement of distribution under the plan.” 11 U.S.C. §§ 1101(2)(A)-(C);

see In re Semcrude, L.P., 728 F.3d 314, 321 (3d Cir. 2013). Those requirements

have been met. Plan distributions have been made, new obligations have been

incurred, and New Mallinckrodt has emerged from chapter 11 as a reorganized

enterprise. See Decl. ¶¶ 16-31, supra at 8-10.

      B.     Failure To Seek A Stay
      The equitable mootness doctrine prevents courts from being placed in the

position of “‘unscrambling complex bankruptcy reorganizations,’” particularly


                                          11
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 16 of 29 PageID #: 29789




“‘when the appealing party should have acted before the plan became extremely

difficult to retract.’” In re Zenith Elecs. Corp., 329 F.3d 338, 340 (3d Cir. 2003)

(citation omitted). Accordingly, an appellant’s failure to seek a stay pending appeal

weighs heavily against granting relief. See Tribune, 799 F.3d at 281-82; see also

Nordhoff Inv.’s Inc. v. Zenith Elecs. Corp., 258 F.3d 180, 191 (3d Cir. 2001) (Alito,

J., concurring that appeal was equitably moot, “primarily influenced by the

appellants’ failure to seek a stay”).

      Attestor sought a limited stay in connection with its now-dismissed appeal of

the Confirmation Order. But it never sought a stay in connection with this appeal.

Attestor’s stay motions sought only to prevent “distributions to Class 6 claimants,”

based on an argument that the Plan unfairly discriminated among its subclasses.

Case No. 1:22-cv-215-TLA, Dkt. 18 at 15-19; see Bankr. D.I. 6722 at 3, 9-14. And

Attestor went out of its way to emphasize that it was “not [requesting] that the Plan

otherwise not be consummated or that any other distributions be withheld.” Id., Dkt.

18 at 19. A narrow stay of distributions to certain prepetition creditors would have

had no impact on the equities of granting relief in this appeal, which relates to

administrative expense liability and has nothing to do with Class 6 distributions. Nor

did Attestor’s stay motions even mention this appeal or Attestor’s administrative

claims. See supra note 4.




                                         12
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 17 of 29 PageID #: 29790




      Attestor’s failure to seek a stay in connection with this appeal is striking given

its repeated assertions that the hundreds of millions of dollars it sought would

threaten the Plan’s feasibility. See Bankr. D.I. 2657 at 8 ¶ 18 (arguing that the claims

(if allowed) would “threaten[] the feasibility of the Plan”); Bankr. D.I. 2752 at 13:2-

10 (asserting that, if Attestor’s administrative expenses are allowed, “there’s no way

that the court can conclude that the debtors’ plan is feasible”). Attestor told this

Court that “[t]he antitrust claim at issue here is momentous . . . financially.” D.I. 12

at 19. And the Confirmation Order memorialized and relied on the administrative

expense ruling at issue in this appeal. Bankr. D.I. 6660 at 55. Yet Attestor made no

attempt to seek a stay to ensure it could receive relief after the Plan went effective.

      The delay that resulted from Attestor’s other litigation conduct provides

further support for dismissal. Even though Attestor filed this appeal in December

2021, there has been no merits briefing to date. That is Attestor’s fault. The Debtors

promptly proposed a schedule in January 2022. See D.I. 8 at 2. Two weeks later,

and well over a month after filing its appeal, Attestor filed a certification motion and

opposed setting any schedule for merits briefing until its certification motion was

resolved. D.I. 8, 12. Under any normal briefing schedule, this appeal would have

been fully briefed (and potentially decided) by now. That Attestor could have had

its appeal heard before consummation should weigh heavily against granting relief.




                                          13
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 18 of 29 PageID #: 29791




II.   GRANTING RELIEF WOULD SIGNIFICANTLY HARM THIRD
      PARTIES AND SCRAMBLE THE PLAN
      The effect of imposing over $600 million in new, immediately payable

liability on New Mallinckrodt would strain the newly emerged enterprise’s finances

and undermine the fresh start the bankruptcy afforded it. That amount far exceeds

the Company’s current equity market capitalization and liquidity. And while New

Mallinckrodt strongly believes that Attestor is not entitled to $600 million (or any

other relief), that is beside the point for current purposes. When it comes to assessing

equitable mootness, the Court should assume Attestor will ultimately obtain the full

$600 million it seeks. See Continental, 91 F.3d at 656 (counseling against asking

whether investors’ “reliance [on the finality of the confirmed plan] was ‘reasonable’

or based on a 30%, 60%, or 100% probability” that an appellant is correct). The

critical point is that, if granted, the relief Attestor seeks would significantly harm

third-party investors and other creditors, and would scramble the Plan.

      A.     Effect Of Granting Relief On New Mallinckrodt’s Finances
      According to the valuations presented at the confirmation hearing and relied

on by the Bankruptcy Court, New Mallinckrodt’s total enterprise value was

approximately $5 billion. Bankr. D.I. 2917 at 830 (Disclosure Statement valuation

with mid-point of $5.45 billion); Bankr. D.I. 5000 at ¶ 10 (declaration indicating 7%

reduction of valuation prior to confirmation hearing). After giving effect to the Plan

transactions, New Mallinckrodt has approximately $3.6 billion in funded debt

                                          14
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 19 of 29 PageID #: 29792




outstanding, in addition to $1.52 billion of deferred settlement obligations to the

opioid creditors and on account of the Federal/State Acthar Settlement. Decl.

¶¶ 17(i)-(k), 26, 28.

      Based on trading prices for New Mallinckrodt’s equity on the over-the-

counter market, New Mallinckrodt’s implied total equity value is approximately

$325 million.      Decl. ¶ 20.    Reducing New Mallinckrodt’s equity market

capitalization by over $600 million would, of course, substantially affect the value

of equity in New Mallinckrodt that is actively trading in the market. Indeed, the

potential liability here exceeds New Mallinckrodt’s entire equity market

capitalization.

      Subjecting New Mallinckrodt to hundreds of millions of dollars in new

administrative expense claims would also dramatically impact the Company’s

liquidity position. As reflected in the Confirmation Opinion, New Mallinckrodt is

expected to have adequate liquidity to finance current operations and maintain

adequate cash reserves for a business of its size under the Plan as confirmed. See

Bankr. D.I. 6378 at 74-75. The Company believes that its “minimum liquidity”

needed to operate the business is approximately $250 million. Decl. ¶ 34. Needless

to say, then, a $600 million immediate cash payment (which is more than the

Company’s $300 million in current working capital) would negatively impact

liquidity. See id. ¶¶ 32, 34 (explaining that to properly fund such a large claim, New


                                         15
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 20 of 29 PageID #: 29793




Mallinckrodt would likely need to use cash from operations and seek additional

financing). The strain on New Mallinckrodt’s liquidity position could have wide-

ranging effects on the business. See id. ¶¶ 32-36.

      B.     Harm To Third Parties
      Among the most important considerations in evaluating equitable mootness is

harm to “third parties,” especially parties that have invested new money or credit in

the enterprise. See, e.g., Millennium, 945 F.3d at 142 (citing harm to new lenders

and equity holders); Tribune, 799 F.3d at 281 (new equity); Nordhoff, 258 F.3d at

188 (holders of publicly traded bonds). Granting the relief sought in this appeal

would harm the major constituencies that have relied on the Confirmation Order,

including new equity owners and new bondholders that provided the financing

necessary for the Plan to go effective.

      New Stockholders. New Mallinckrodt’s shares are now heavily traded. Decl.

¶ 20. Purchasers in the securities markets are paradigmatic “third parties” with no

apparent prior connection to the Debtors or the bankruptcy. Nordhoff, 258 F.3d at

188 (secondary market purchasers of bonds are “third part[ies]” with “reliance

interests”); In re UNR Indus., Inc., 20 F.3d 766, 769 (7th Cir. 1994) (Easterbrook,

J.) (dismissing appeal because shareholders who bought on public markets

“purchased on the assumption that all asbestos payments would be borne by the

Trust” rather than the reorganized entity). Granting the $600 million in relief sought


                                          16
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 21 of 29 PageID #: 29794




in this appeal would result in a corresponding decrease in the Company’s equity

market capitalization and share price, inflicting a substantial loss on new equity

investors. See Decl. ¶ 21. That the asserted liability exceeds New Mallinckrodt’s

entire equity market capitalization only underscores the potential severity of those

effects.

       New Bondholders and Lenders. After entry of the Confirmation Order,

outside investors also agreed to provide financing by purchasing new debt securities

from New Mallinckrodt in the amount of $650 million. Decl. ¶ 22. Although some

of those purchasers were also prepetition lenders, they had no obligation to invest

additional money, and thus are considered third parties. See Nordhoff, 258 F.3d at

188. The financing was crucial, as it was principally used to refinance the Debtors’

revolving loans—a requirement for Plan consummation.

       In addition, the Guaranteed Unsecured Noteholders’ and Second Lien

Noteholders’ prepetition claims were satisfied in part through the New Second Lien

Notes, and the claims of the Term Loan Lenders were exchanged for New Term

Loans. Decl. ¶¶ 17, 23. The New Second Lien Notes trade in the bond market, and

the New Term Loans trade in the term loan markets. Id. ¶ 24. The open-market

purchasers of those new notes and term loans are prototypical third parties. See

Nordhoff, 258 F.3d at 188. Adding a $600 million liability to New Mallinckrodt’s




                                        17
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 22 of 29 PageID #: 29795




balance sheet would undoubtedly have impacted their investment decisions as well

as the pricing of the loans they purchased.

       Opioid Stakeholders, Employees, Counterparties, and Other Stakeholders.

New Mallinckrodt is a critical supplier in the pharmaceutical industry. It also has

major obligations to the opioid stakeholders, including cash payments. Imposing

material additional obligations would negatively impact those creditors and third

parties.    Among other things, imposing a $600 million obligation on New

Mallinckrodt would decrease the value of the New Opioid Warrants contributed to

the Opioid MDT II. Decl. ¶ 21. Because the company’s market capitalization would

be diminished as a result of that obligation, so too would the value of the New Opioid

Warrants, as decreased equity value would lead the Opioid MDT II to sell the

warrants at a lower price than their expected future value, or hold the warrants

without exercising them. Id. This would reduce the future distributable value

available to individual Opioid Claimants and countless programs across the country

established to abate the opioid crisis. Id.

       C.     Scrambling Effects
       Beyond the unfairness to new investors and other stakeholders, granting the

relief Attestor seeks would have a scrambling effect on the Plan that cannot be

undone. The impact is self-evident: imposing an immediately payable $600 million

liability would absorb a very significant portion of the Company’s liquidity and


                                          18
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 23 of 29 PageID #: 29796




potentially all of its equity value. Granting the relief sought in this appeal would be

exponentially more substantial than cases in which equitable mootness arguments

have been rejected. See, e.g., Tribune, 799 F.3d at 283 (claim involving “whether

one of two classes of creditors is entitled to $30 million in the context of a $7.5

billion reorganization”); id. at 282 n.4 (discussing cases involving “lower . . .

potential recovery,” citing Phila. Newspapers, 690 F.3d at 170 (claim worth 1.7%

of the price of debtor’s assets) and In re Chateaugay Corp., 10 F.3d 944, 953 (2d

Cir. 1993) (claim worth up to 10% of a reorganized debtor’s working capital)); In re

Semcrude, L.P., 728 F.3d 314, 324 (3d Cir. 2013) (claim worth $207,300.62 in

context of over $2 billion reorganization).

      The frustration of parties’ settled expectations would likewise have a

scrambling effect here. Each of the RSA parties bargained for a restructuring under

which a Plan had to be completed on agreed financial terms and on the agreed

schedule, or they would be entitled to revisit their settlement or investments. See

supra at 4. Because the Plan was not confirmed by November 15, 2021, those parties

had a right to terminate the RSA, but they chose not to do so. It is impossible to

know whether any of the RSA parties would have exercised that right—or sought to

renegotiate their economic deals—if the Bankruptcy Court or this Court had required

payment of the administrative claims at issue. But it is certain that, if this appeal




                                          19
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 24 of 29 PageID #: 29797




were successful, those settling creditors will have lost their bargained-for option to

renegotiate or walk away from the Plan.

      Millennium stands for the proposition that revising a plan to the detriment of

settling parties, while not returning those parties to the status quo ante, is a kind of

“scrambling” that supports equitable mootness. 945 F.3d at 143-44. Continental

applied a similar principle to affirm dismissal of a claim for $117 million in

administrative expenses as equitably moot. 91 F.3d at 652, 654-65 (citing investor’s

“reli[ance] on . . . unstayed Confirmation Order in making the decision to proceed

to close” their investment in the plan and noting that “[b]y the time the district court

ruled on the appeal, it was no longer possible to restore the parties to their earlier

positions”).   As in those cases, it would be “profoundly inequitable” here to

reallocate hundreds of millions of dollars to administrative expenses without

allowing other stakeholders to renegotiate their deal points, as they could have done.

Millennium, 945 F.3d at 144; see generally Continental, 91 F.3d at 564-65 (claim is

equitably moot “when its acceptance ‘would amount to imposing a different plan of

reorganization on the parties’” (quoting In re Specialty Equip. Cos., 3 F.3d 1043,

1048 (7th Cir. 1993)).

      One final point bears mention. This appeal standing alone is equitably moot;

but it does not stand alone. New Mallinckrodt has concurrently filed motions to




                                          20
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 25 of 29 PageID #: 29798




dismiss three other appeals on similar equitable mootness grounds.5 None is the

kind of “low-value appeal” that would involve only “minor changes to a plan of

reorganization.” Tribune, 799 F.3d at 282 n.4. And none of the appellants have

equity on their side. Each appeal independently impacts third-party reliance interests

and scrambles the Plan. Taken together, the effect of granting the relief sought in

these appeals would be truly extraordinary and unmanageable—amounting to

roughly $900 million in new liability for the Company. See generally Continental,

91 F.3d at 555 (affirming dismissal for equitable mootness of three appeals).

III.   PUBLIC POLICY FAVORS DISMISSAL
       Subjecting New Mallinckrodt to the relief Attestor seeks, notwithstanding its

failure to seek a meaningful stay or promptly pursue its appeal, would harm creditors

and reorganizing debtors in this case and future cases by creating a “bankruptcy

discount.” That result would be contrary to the purpose of the equitable mootness

doctrine. The doctrine allows debtors to avoid “protracted litigation based on

arguable blemishes in a reorganization plan,” and “‘assures [stakeholders] that . . .

they may make financial decisions based on a reorganized entity’s exit from Chapter



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 Case No. 21-cv-01636-TLA (appeal of claim appellant asserts has present value of
$190 million); Case Nos. 22-cv-00330-TLA, 22-cv-00331-TLA (consolidated
appeals regarding make-whole obligation of at least $110 million). New
Mallinckrodt has filed a motion to dismiss two additional appeals for equitable
mootness as well. See Case Nos. 21-cv-01271-TLA, 22-cv-00222-TLA (appeals
challenging Plan valuation and treatment of opioid claims).

                                         21
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 26 of 29 PageID #: 29799




11 without fear that an appellate court will wipe out or interfere with their deal.’”

Millennium, 945 F.3d at 140 & n.16 (citation omitted); see Continental, 91 F.3d at

565 (equitable mootness inquiry asks “whether we want to encourage or discourage

reliance by investors and others on the finality of bankruptcy confirmation orders”).

        This bankruptcy—and the appeals on which New Mallinckrodt seeks

dismissal for equitable mootness—illustrate the importance of this issue. A core

settlement involved the allocation of equity interests in the reorganized enterprise

between the Guaranteed Unsecured Noteholders and the opioid claimants. Decl.

¶¶ 8, 13. That kind of settlement cannot happen without high confidence in the

finality of confirmation orders and the resulting marketability of equity securities.

If creditors negotiating an equity split have to bear the risk that long-running appeals

could crush the value of their equity, they would need to discount that equity value

during negotiations, or decline to accept equity at all. “[U]ndermin[ing] public

confidence in the finality of bankruptcy confirmation orders” and discouraging

investment in reorganized enterprises would “make successful completion of large

reorganizations like this more difficult.” Continental, 91 F.3d at 565.

                                   CONCLUSION
        For the foregoing reasons, Attestor’s appeal should be dismissed as equitably

moot.




                                          22
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 27 of 29 PageID #: 29800




July 1, 2022                               Respectfully submitted,
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                                      23
Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 28 of 29 PageID #: 29801




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                                         /s/ Michael J. Merchant
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Case 1:21-cv-01780-TLA Document 23 Filed 07/01/22 Page 29 of 29 PageID #: 29802




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      I certify that on July 1, 2022, I caused to be served the foregoing Reorganized

Debtors’ Motion to Dismiss Appeal as Equitably Moot via the CM/ECF Electronic

Filing system.


                                          /s/ Michael J. Merchant
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